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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION

 THE STATE OF TEXAS and                         §
 KEN PAXTON, in his official capacity at
                                                §
 Attorney General of Texas,
              Plaintiffs,                       §
                                                §
 v.
                                                §
                                                          CIVIL ACTION NO. 2:24-CV-237
 MERRICK GARLAND, in his official               §
 capacity as Attorney General of the United     §
 States; KRISTEN CLARKE, in her official
 capacity as Assistant Attorney General for     §
 the Civil Rights Division; XOCHITL             §
 HINOJOSA, in her official capacity as          §
 Director of the Office of Public Affairs of
 the Department of Justice;                     §
 DEPARTMENT OF JUSTICE; ROB                     §
 SHIVER, in his official capacity as Acting     §
 Director of the Office of Personnel
                                                §
 Management, and OFFICE OF
 PERSONNEL MANAGEMENT,                          §
                Defendants.                     §

                          PLAINTIFFS’ NOTICE OF AGREEMENT

        Plaintiffs State of Texas and Ken Paxton, in his official capacity as Attorney General of

Texas, respectfully notify this Court that the Parties have reached an agreement in the above-

captioned matter. See Ex. A. The Court therefore need not move on Plaintiffs’ emergency for

motion for a temporary restraining order, filed earlier today on November 4, 2024.

        This Agreement, based on defense counsel’s representations, resolves Texas’s concerns

that Defendants planned on sending federal election monitors into Texas polling locations and

central counting stations on November 5, 2024, in violation of the Texas Election Code.

Specifically, the Parties agree that:
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       (1) Election monitors from the Department of Justice (DOJ) will remain outside of polling

           and central count locations;

       (2) DOJ understands that, within 100 feet of those locations, DOJ election monitors are

           subject to Texas law regarding electioneering and other conduct within 100 feet of

           polling and central count locations;

       (3) DOJ commits that consistent with its longstanding practice, it will not interfere with

           voters attempting to vote; and

       (4) Texas recognizes that voters may speak with DOJ personnel at the referenced locations

           should they so choose, within the parameters set by the Texas Election Code.

       In light of this agreement and the representations made during the Parties’ November 4,

2024 meet and confer, Plaintiffs hereby withdraw their emergency for motion for a temporary

restraining order.
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Date: November 4, 2024                           Respectfully submitted,

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